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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

  JOHN KRISTENSEN, individually and )              Case No.
  on behalf of all others similarly situated, )
                                              )    CLASS ACTION
  Plaintiff,                                  )
                                              )    COMPLAINT FOR VIOLATIONS
         vs.                                  )    OF:
                                              )
  CAPITAL ASSESSMENT GROUP                    )       1.      NEGLIGENT VIOLATIONS
                                                              OF THE TELEPHONE
  INC., and DOES 1 through 10,                )               CONSUMER PROTECTION
  inclusive, and each of them,                )               ACT [47 U.S.C. §227(b)]
                                              )       2.      WILLFUL VIOLATIONS
                                                              OF THE TELEPHONE
  Defendant.                                  )               CONSUMER PROTECTION
                                              )               ACT [47 U.S.C. §227(b)]
                                              )
                                              )    DEMAND FOR JURY TRIAL


        Plaintiff JOHN KRISTENSEN (“Plaintiff”), individually and on behalf of
  all others similarly situated, alleges the following upon information and belief
  based upon personal knowledge:
                               NATURE OF THE CASE
        1.     Plaintiff brings this action individually and on behalf of all others
  similarly situated seeking damages and any other available legal or equitable
  remedies resulting from the illegal actions of CAPITAL ASSESSMENT GROUP
  INC. (“Defendant”), in negligently, knowingly, and/or willfully contacting
  Plaintiff on Plaintiff’s cellular telephone in violation of the Telephone Consumer
  Protection Act, 47. U.S.C. § 227 et seq. (“TCPA”) thereby invading Plaintiff’s
  privacy.
                              JURISDICTION & VENUE
        2.     Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
  a resident of California, seeks relief on behalf of a Class, which will result in at


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  least one class member belonging to a different state than that of Defendant, a
  Florida company. Plaintiff also seeks up to $1,500.00 in damages for each call in
  violation of the TCPA, which, when aggregated among a proposed class in the
  thousands, exceeds the $5,000,000.00 threshold for federal court jurisdiction.
  Therefore, both diversity jurisdiction and the damages threshold under the Class
  Action Fairness Act of 2005 (“CAFA”) are present, and this Court has jurisdiction.
        3.      Venue is proper in the United States District Court for the Southern
  District of Florida pursuant to 28 U.S.C. § 1391(b) and because Defendant is
  incorporated and has its principal place of business within the state of Florida.
                                       PARTIES
        4.      Plaintiff, JOHN KRISTENSEN (“Plaintiff”), is a natural person
  residing in Venice, California and is a “person” as defined by 47 U.S.C. § 153 (39).
        5.      Defendant, CAPITAL ASSESSMENT GROUP INC. (“Defendant”)
  is an online financial services company, and is a “person” as defined by 47 U.S.C.
  § 153 (39).
        6.      The above named Defendant, and its subsidiaries and agents, are
  collectively referred to as “Defendants.” The true names and capacities of the
  Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
  currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
  names. Each of the Defendants designated herein as a DOE is legally responsible
  for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
  Complaint to reflect the true names and capacities of the DOE Defendants when
  such identities become known.
        7.      Plaintiff is informed and believes that at all relevant times, each and
  every Defendant was acting as an agent and/or employee of each of the other
  Defendants and was acting within the course and scope of said agency and/or
  employment with the full knowledge and consent of each of the other Defendants.
  Plaintiff is informed and believes that each of the acts and/or omissions complained


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  of herein was made known to, and ratified by, each of the other Defendants.
                             FACTUAL ALLEGATIONS
        8.     Beginning in or around December 2017, Defendant contacted Plaintiff
  on Plaintiff’s cellular telephone number ending in -9711, in an attempt to solicit
  Plaintiff to purchase Defendant’s services. There was a significant pause prior to
  the Defendant trying to solicit its services to Plaintiff.
        9.     Defendant used an “automatic telephone dialing system” as defined
  by 47 U.S.C. § 227(a)(1) to place its call to Plaintiff seeking to solicit its services.
        10.    Defendant contacted or attempted to contact Plaintiff from telephone
  number (786) 540-3862 confirmed to be Defendant’s number.
        11.    Defendant’s calls constituted calls that were not for emergency
  purposes as defined by 47 U.S.C. § 227(b)(1)(A).
        12.    Defendant’s calls were placed to telephone number assigned to a
  cellular telephone service for which Plaintiff incurs a charge for incoming calls
  pursuant to 47 U.S.C. § 227(b)(1).
        13.    During all relevant times, Defendant did not possess Plaintiff’s “prior
  express consent” to receive calls using an automatic telephone dialing system or an
  artificial or prerecorded voice on his cellular telephone pursuant to 47 U.S.C. §
  227(b)(1)(A).
        14.    Plaintiff is not a customer of Defendant’s services and has never
  provided any personal information, including his cellular telephone number, to
  Defendant for any purpose whatsoever.
        15.    Such calls constitute solicitation calls pursuant to 47 C.F.R. §
  64.1200(c)(2) as they were attempts to promote or sell Defendant’s services.
        16.    Plaintiff alleges upon information and belief, including without
  limitation his experiences as recounted herein, especially his experience of being
  called despite Defendant’s lack of consent to call him, that Defendant lacks
  reasonable policies and procedures to avoid the violations of the Telephone


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  Consumer Protection act herein described.
                               CLASS ALLEGATIONS
        17.    Plaintiff brings this action individually and on behalf of all others
  similarly situated, as a member of the proposed class (hereinafter, “The Class”)
  defined as follows:

               All persons within the United States who received any
               solicitation/telemarketing   telephone   calls    from
               Defendant to said person’s cellular telephone made
               through the use of any automatic telephone dialing
               system or an artificial or prerecorded voice and such
               person had not previously consented to receiving such
               calls within the four years prior to the filing of this
               Complaint

        18.    Plaintiff represents, and is a member of, The Class, consisting of all
  persons within the United States who received any collection telephone calls from
  Defendant to said person’s cellular telephone made through the use of any
  automatic telephone dialing system or an artificial or prerecorded voice and such
  person had not previously not provided their cellular telephone number to
  Defendant within the four years prior to the filing of this Complaint.
        19.    Defendant, its employees and agents are excluded from The Class.
  Plaintiff does not know the number of members in The Class, but believes the Class
  members number in the thousands, if not more. Thus, this matter should be
  certified as a Class Action to assist in the expeditious litigation of the matter.
        20.    The Class is so numerous that the individual joinder of all of its
  members is impractical. While the exact number and identities of The Class
  members are unknown to Plaintiff at this time and can only be ascertained through
  appropriate discovery, Plaintiff is informed and believes and thereon alleges that
  The Class includes thousands of members.            Plaintiff alleges that The Class
  members may be ascertained by the records maintained by Defendant.


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        21.    Plaintiff and members of The Class were harmed by the acts of
  Defendant in at least the following ways: Defendant illegally contacted Plaintiff
  and The Class members via their cellular telephones thereby causing Plaintiff and
  The Class members to incur certain charges or reduced telephone time for which
  Plaintiff and The Class members had previously paid by having to retrieve or
  administer messages left by Defendant during those illegal calls, and invading the
  privacy of said Plaintiff and The Class members.
        22.    Common questions of fact and law exist as to all members of The
  Class which predominate over any questions affecting only individual members of
  The Class. These common legal and factual questions, which do not vary between
  The Class members, and which may be determined without reference to the
  individual circumstances of any The Class members, include, but are not limited
  to, the following:
               a.      Whether, within the four years prior to the filing of this
                       Complaint, Defendant made any telemarketing/solicitation call
                       (other than a call made for emergency purposes or made with
                       the prior express consent of the called party) to a Class member
                       using any automatic telephone dialing system or any artificial
                       or prerecorded voice to any telephone number assigned to a
                       cellular telephone service;
               b.      Whether Plaintiff and the Class members were damaged
                       thereby, and the extent of damages for such violation; and
               c.      Whether Defendant should be enjoined from engaging in such
                       conduct in the future.
        23.    As a person that received numerous telemarketing/solicitation calls
  from Defendant using an automatic telephone dialing system or an artificial or
  prerecorded voice, without Plaintiff’s prior express consent, Plaintiff is asserting
  claims that are typical of The Class.


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        24.    Plaintiff will fairly and adequately protect the interests of the members
  of The Class. Plaintiff has retained attorneys experienced in the prosecution of
  class actions.
        25.    A class action is superior to other available methods of fair and
  efficient adjudication of this controversy, since individual litigation of the claims
  of all Class members is impracticable. Even if every Class member could afford
  individual litigation, the court system could not. It would be unduly burdensome
  to the courts in which individual litigation of numerous issues would proceed.
  Individualized litigation would also present the potential for varying, inconsistent,
  or contradictory judgments and would magnify the delay and expense to all parties
  and to the court system resulting from multiple trials of the same complex factual
  issues. By contrast, the conduct of this action as a class action presents fewer
  management difficulties, conserves the resources of the parties and of the court
  system, and protects the rights of each Class member.
        26.    The prosecution of separate actions by individual Class members
  would create a risk of adjudications with respect to them that would, as a practical
  matter, be dispositive of the interests of the other Class members not parties to such
  adjudications or that would substantially impair or impede the ability of such non-
  party Class members to protect their interests.
        27.    Defendant has acted or refused to act in respects generally applicable
  to The Class, thereby making appropriate final and injunctive relief with regard to
  the members of the Class as a whole.
                            FIRST CAUSE OF ACTION
         Negligent Violations of the Telephone Consumer Protection Act
                                  47 U.S.C. §227(b).
        28.    Plaintiff repeats and incorporates by reference into this cause of action
  the allegations set forth above at Paragraphs 1-27.
        29.    The foregoing acts and omissions of Defendant constitute numerous


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  and multiple negligent violations of the TCPA, including but not limited to each
  and every one of the above cited provisions of 47 U.S.C. § 227(b), and in particular
  47 U.S.C. § 227 (b)(1)(A).
        30.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b),
  Plaintiff and the Class Members are entitled an award of $500.00 in statutory
  damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
        31.    Plaintiff and the Class members are also entitled to and seek injunctive
  relief prohibiting such conduct in the future.
                          SECOND CAUSE OF ACTION
   Knowing and/or Willful Violations of the Telephone Consumer Protection
                                          Act
                                  47 U.S.C. §227(b)
        32.    Plaintiff repeats and incorporates by reference into this cause of action
  the allegations set forth above at Paragraphs 1-27.
        33.    The foregoing acts and omissions of Defendant constitute numerous
  and multiple knowing and/or willful violations of the TCPA, including but not
  limited to each and every one of the above cited provisions of 47 U.S.C. § 227(b),
  and in particular 47 U.S.C. § 227 (b)(1)(A).
        34.    As a result of Defendant’s knowing and/or willful violations of 47
  U.S.C. § 227(b), Plaintiff     and the Class members are entitled an award of
  $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
  § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
        35.    Plaintiff and the Class members are also entitled to and seek injunctive
  relief prohibiting such conduct in the future.
                               PRAYER FOR RELIEF
  WHEREFORE, Plaintiff requests judgment against Defendant for the following:
                            FIRST CAUSE OF ACTION
         Negligent Violations of the Telephone Consumer Protection Act


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                                  47 U.S.C. §227(b)
              • As a result of Defendant’s negligent violations of 47 U.S.C.
               §227(b)(1), Plaintiff and the ATDS Class members are entitled to and
               request $500 in statutory damages, for each and every violation,
               pursuant to 47 U.S.C. 227(b)(3)(B).
              • Any and all other relief that the Court deems just and proper.


                          SECOND CAUSE OF ACTION
   Knowing and/or Willful Violations of the Telephone Consumer Protection
                                          Act
                                  47 U.S.C. §227(b)
              • As a result of Defendant’s willful and/or knowing violations of 47
               U.S.C. §227(b)(1), Plaintiff and the ATDS Class members are
               entitled to and request treble damages, as provided by statute, up to
               $1,500, for each and every violation, pursuant to 47 U.S.C.
               §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C).
              • Any and all other relief that the Court deems just and proper.
                                   JURY DEMAND
        36.    Pursuant to her rights under the Seventh Amendment to the United
  States Constitution, Plaintiff demands a jury on all issues so triable.




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       Respectfully Submitted this 2nd Day of May, 2018.


                         FLORIDA LEGAL LLC
                              By: /s/ Raymond R. Dieppa
                                  Raymond R. Dieppa
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